
IKUTA, Circuit Judge,
with whom Circuit Judge CALLAHAN joins, dissenting:
I agree with Judge Callahan’s dissenting opinion, and I join it in full. I write separately to underline Judge Callahan’s concern that “the return of property pursuant to Rule 41(g) is not necessarily the appropriate relief in this case.” Dissent at 1188-89. Even if the government had violated the plaintiffs’ Fourth Amendment rights, the remedy for the alleged violation imposed by the Nevada district court (Judge Mahan), and upheld by the majority, is both unprecedented and in conflict with the past several decades of the Supreme Court’s Fourth Amendment jurisprudence. Although a party can seek the return of property under Rule 41(g), and the exclusionary rule may prevent illegally seized evidence from being used for particular purposes during criminal proceedings, ordering the government to expunge all the information it obtained from a search or seizure of property is inconsistent with the limited scope of the modern exclusionary rule. But that is just what the district court’s order did: it directed the government not only to return the property seized during its search of Quest’s facilities, but to destroy all traces of information derived from that search. I therefore dissent from the majority’s affirmance of this order.
Motion to Return Property. A person aggrieved by an unlawful search and seizure of property or by the deprivation of property may move for the property’s return. The motion must be filed in the district where the property was seized. The court must receive evidence on any factual issue necessary to decide the motion. If it grants the motion, the court must return the property to the movant, but may impose reasonable conditions to protect access to the property and its use in later proceedings.
Because there is no criminal proceeding pending against the plaintiffs in this case, we analyze their motion for return of property as an equitable analog to a motion under Rule 41(g).1 See Ramsden v. United States, 2 F.3d 322, 324 (9th Cir.1993) (recognizing that “district courts have the power to entertain motions to return property seized by the government when there *1193are no criminal proceedings pending against the movant”). Such pre-indictment Rule 41 motions “are treated as civil equitable proceedings,” id., arising under the courts’ “supervisory jurisdiction.” Richey v. Smith, 515 F.2d 1239, 1245 (5th Cir.1975). The Supreme Court has explained that a court’s authority to suppress evidence, whether under the court’s supervisory jurisdiction or under those provisions of the federal rules of criminal procedure expressly providing for suppression, is limited by the scope of the exclusionary rule. See United States v. Payner, 447 U.S. 727, 735-36, 100 S.Ct. 2439, 65 L.Ed.2d 468 (1980) (holding that a federal court could not exercise its equitable supervisory powers to suppress evidence in circumstances where the exclusionary rule did not allow such suppression); United States v. Calandra, 414 U.S. 338, 348 n. 6, 94 S.Ct. 613, 38 L.Ed.2d 561 (1974) (holding that a motion for the return of property “does not constitute a statutory expansion of the exclusionary rule”); see also Grimes v. Comm’r, 82 F.3d 286, 290 (9th Cir.1996) (holding that Rule 41 does not provide movants “any protection beyond that provided by the exclusionary rule”). Accordingly, courts must follow the Supreme Court’s exclusionary rule jurisprudence when fashioning suppression remedies under Rule 41(g) or its equitable counterpart.
Over the past few decades, the Supreme Court has refined the rules governing suppression of evidence due to the government’s Fourth Amendment violations and made clear that suppression is a circumstance-specific remedy. As the Court has recently explained:
Suppression of evidence ... has always been our last resort, not our first impulse. The exclusionary rule generates substantial social costs, which sometimes include setting the guilty free and the dangerous at large. We have therefore been cautious against expanding it, and have repeatedly emphasized that the rule’s costly toll upon truth-seeking and law enforcement objectives presents a high obstacle for those urging its application. We have rejected indiscriminate application of the rule, and have held it to be applicable only where its remedial objectives are thought most efficaciously served — that is, where its deterrence benefits outweigh its substantial social costs.
Hudson v. Michigan, 547 U.S. 586, 591, 126 S.Ct. 2159, 165 L.Ed.2d 56 (2006) (internal alterations, quotation marks, and citations omitted) (citing United States v. Leon, 468 U.S. 897, 907, 104 S.Ct. 3405, 82 L.Ed.2d 677 (1984), and Calandra, 414 U.S. at 348, 94 S.Ct. 613, among others); see also Herring v. United States, — U.S. -, 129 S.Ct. 695, 700, 172 L.Ed.2d 496 (2009) (“We have repeatedly rejected the argument that exclusion is a necessary consequence of a Fourth Amendment violation.” (citing cases)).
Since Mapp v. Ohio, 367 U.S. 643, 81 S.Ct. 1684, 6 L.Ed.2d 1081 (1961), the Court has adopted numerous exceptions to the exclusionary rule, such as the “good faith” exception first enunciated in Leon. Most significant for this case, the Court has held that even illegally seized evidence may be used for a variety of purposes. See Calandra, 414 U.S. at 351-52, 94 S.Ct. 613 (holding that the exclusionary rule does not apply to grand jury proceedings); see also United States v. Havens, 446 U.S. 620, 627-28, 100 S.Ct. 1912, 64 L.Ed.2d 559 (1980) (holding that evidence obtained in violation of the Fourth Amendment can be used to impeach a defendant’s testimony at trial); Rakas v. Illinois, 439 U.S. 128, 148-49, 99 S.Ct. 421, 58 L.Ed.2d 387 (1978) (holding that evidence obtained in violation of one person’s Fourth Amendment rights can be used against another person whose *1194Fourth Amendment rights were not violated by the search or seizure). Accordingly, under the Supreme Court’s precedents, remedies for Fourth Amendment violations must be carefully tailored to fit both the underlying violation and the government’s legitimate competing interests in using the illegally seized evidence. See Grimes, 82 F.3d at 291 (“Because the government may now use illegally obtained evidence in a variety of situations, it should be permitted to retain copies of such evidence absent extreme circumstances not apparent from this record.”); see also In re Search of Law Office, 341 F.3d 404, 412 (5th Cir.2003) (noting that changes in the Court’s exclusionary rule jurisprudence cast doubt on earlier opinions holding that victims of an unlawful search had right to obtain return of all copies of documents).
The majority acknowledges that a court’s suppression power is “limited by the exclusionary rule,” but contends that Payner and Calandra are inapt because they involved “the suppression, not the return, of seized materials,” and in this case “no motion to suppress ... is before us.” Maj. op. at 1173. But the majority appears to misunderstand the Nevada district court’s order. In conducting its search of the Quest facility, the government seized urine specimens and made copies of information maintained on Quest’s computers. The first part of the district court’s order directs the government to “return to moving party MLBPA ... all materials seized from Quest ... other than materials relating to the ten baseball players named in the original April 8 warrant.” This part of the order applies only to the urine samples, the only physical materials seized from Quest.2 The second part of the court’s order requires the government to “segregate, seal, and make no further direct or indirect use of, all notes, summaries, and other records of information seized from Quest on April 8 and May 6 relating to testing of persons other than the ten baseball players named in the April 8 warrant.”3 This part of the order applies to the copies the government made of Quest’s computer files. Whether we use the label “sequestration,” as the majority does, maj. op. at 1174, or some other term like “divestiture” or “expunge*1195ment,” the substance of this part of the order is the same: it required the government to refrain from using information about the players, not to return their property. A motion for return of property is a remedy for a party “aggrieved by a deprivation of its property.” In re Search of Kitty’s East, 905 F.2d 1367, 1375 (10th Cir.1990) (emphasis added). Here, the Players Association is not “aggrieved by the deprivation” of its property, maj. op. at 1173; it is aggrieved by the government’s possession of inculpatory evidence.
Moreover, a successful motion for the return of property does not prevent the government from continuing to use information derived from the property or from later using the property as evidence. See Fed.R.Crim.P. 41(g) (if a court grants a motion for return of property, it may “impose reasonable conditions to protect access to the property and its use in later proceedings”). As we have explained:
If a district court determines that property has been illegally seized, the proper question in deciding the merits of a 41(e) motion is not whether the officers acted in good faith, but whether returning the illegally seized documents would be ‘reasonable under all of the circumstances.’ If the government’s investigatory and prosecutorial interests can be served by retaining copies of the documents, it is unreasonable for the government to refuse to return original documents to the owner.
J.B. Manning Corp. v. United States, 86 F.3d 926, 928 (9th Cir.1996) (quoting Ramsden, 2 F.3d at 326-27) (internal citation and alteration omitted). Accordingly, even in ordering a return of the urine samples, the district court should have imposed “reasonable conditions,” such as allowing the government to keep part of the samples while returning the rest to Quest or the players, in order to “protect access to the property and its use in later proceedings.” Fed.R.Crim.P. 41(g). Nothing else would have been necessary, since Quest retained the original records (the government took copies) and Quest never owned the government’s notes in the first place.
Instead, the district court’s order denies the government use of evidence which, at least according to the majority and the district court, was obtained in violation of the Fourth Amendment. The district court’s “sequestration” remedy differs from a typical suppression remedy only because it is broader; it categorically prohibited the government from using the seized evidence for any purpose, despite the Supreme Court’s clear instruction that suppression must be tailored to a specific purpose. See Calandra, 414 U.S. at 348, 94 S.Ct. 613 (“[T]he exclusionary rule has never been interpreted to proscribe the use of illegally seized evidence in all proceedings or against all persons.”). Thus the essence of the majority’s position is that the district court’s “sequestration” remedy is not subject to the Supreme Court’s rule against broad and categorical suppression remedies so long as it is labeled an order for “return of property.”
Like the district court, the majority cites no precedent for such a “sequestration” remedy. Ramsden, quoting the Advisory Committee notes to the 1989 amendments to Rule 41, merely left open the possibility that, “in some circumstances ... equitable considerations might justify an order requiring the government to return or destroy all copies of records it has seized.” 2 F.3d at 327 (alteration omitted). As Judge Callahan’s dissent points out, Ramsden did not decide this question; although we determined the government acted with “callous disregard for Ramsden’s constitutional rights,” we concluded that the government was justified in “copying the documents and turn*1196ing them over to British authorities” while returning the originals to Ramsden so that he could run his business. Id. Ramsden’s dicta must bow to Supreme Court precedent. Thus although I acknowledge that Ramsden did not rule out the possibility of a “sequestration” remedy, I conclude that the Supreme Court’s recent exclusionary rule jurisprudence prevents us from expanding the district courts’ suppression authority so broadly.
In this case, assuming the government’s seizure of evidence of criminal wrongdoing violated the Fourth Amendment rights of the parties, Supreme Court precedent may support an order precluding the government from using such evidence in subsequent criminal proceedings against the players. But ordering the government to forget that a large number of individuals have engaged in criminal behavior runs directly contrary to the Supreme Court’s modern Fourth Amendment jurisprudence and fails to consider the “substantial social cost” of the exclusionary rule. Leon, 468 U.S. at 907, 104 S.Ct. 3405. At the very least, preventing the government from using any evidence derived from the search of Quest’s facilities cannot be reconciled with Calandra, which would allow the use of illegally seized evidence in future grand jury proceedings. See 414 U.S. at 351-52, 94 S.Ct. 613.
By affirming the Nevada district court’s order, whatever the label, the majority ignores the Supreme Court’s direction that there is no such thing as a categorical suppression remedy. For this reason, as well as the reasons expressed in Judge Callahan’s dissent, I respectfully dissent.

. Federal Rule of Criminal Procedure 41(g), which was previously codified at Rule 41(e), states as follows:


. It is uncertain whether even this part of the order constitutes an order for return of property, rather than a suppression order, given that the MLBPA’s property interest in the urine samples is unclear. Unless "the property in question is no longer needed for evidentiary purposes,” the "movant bears the burden of proving ... that he or she is entitled to lawful possession of the property.” United States v. Martinson, 809 F.2d 1364, 1369 (9th Cir.1987); accord Fed.R.Crim.P. 41, Notes of Advisory Committee on 1989 amendments ("The amended rule recognizes that reasonable accommodations might protect both the law enforcement interests of the United States and the property rights of property owners and holders.”). I am aware of no court which has held that bodily fluids voluntarily given away, and held in possession by a third party, are owned by the donee. Nor does the standard of lawful possession, as opposed to ownership, resolve the matter. Quest had the urine samples, not the MLBPA, and at oral argument the MLBPA's attorney admitted that no contractual property interest in the samples was granted by the laboratory. Finally, the Nevada district court’s order instructed the government to surrender the urine samples to a third-party laboratory, not return them to the MLBPA or Quest. The majority's reliance on the players' "privacy interests” in the urine samples, maj. op. at 1173, as opposed to their property interests, simply highlights the fact that the majority is affirming a suppression order.


. The majority's statement that the "uses the government may make of the Quest evidence during a criminal proceeding must be decided in the context of such a proceeding,” maj. op. at 1173, is inconsistent with the language of the order, which by its terms precludes the government from making any "further direct or indirect use” of the Quest information.

